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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION




JAMES CASEY OCONNOR,                        )
#4209-19                                    )
                                            )
             Plaintiff,                     )
                                            )     CIVIL ACTION NO.
VS.                                         )
                                            )     3:20-CV-3258-G (BN)
CHARLES E. EDGE, Sheriff, ET AL.,           )
                                            )
             Defendants.                    )


       ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
  RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

      The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case as to Plaintiff’s Motion to Compel Discovery and Petition

for Writ of habeas Corpus (docket entry 12) (“the FCR”). An objection was filed by

Plaintiff. The District Court reviewed de novo those portions of the proposed findings,

conclusions, and recommendation to which objection was made, and reviewed the

remaining proposed findings, Conclusions, and Recommendation for plain error.

Finding no error, the Court ACCEPTS the FCR. And Plaintiff’s construed application

for a writ of habeas corpus under 28 U.S.C. § 2241 concerning prison disciplinary

convictions is DENIED.

      The Court further DIRECTS the Clerk of Court to open for statistical purposes

a new Section 2241 case (nature of suit 530 directly assigned, per Special Order 3-250,
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to Senior United States District Judge A. Joe Fish and United States Magistrate Judge

David L. Horan) and to close the same on the basis of this order.




SO ORDERED.


January 12, 2021.

                                       ________________________________
                                       A. JOE FISH
                                       Senior United States District Judge
